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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY
______________________________
                                :
NICHOLAS BROWN,                 :
                                :    No. 17-cv-3436 (NLH)(SAK)
                Plaintiff,      :
                                :
                v.              :    MEMORANDUM OPINION
                                :
                                :
DR. COHEN, et al.,              :
                                :
                Defendants.     :
______________________________:

      IT APPEARING THAT:

      1.   Plaintiff Nicholas Brown filed a complaint under 42

U.S.C. § 1983 against Defendant Dr. Todd Cohen for deliberate

indifference to Plaintiff’s medical needs while he was detained

in the Camden County Jail.       ECF No. 1.

      2.   On September 27, 2021, mail sent to Plaintiff at his

address of record was returned as undeliverable.           ECF No. 35.

      3.    The returned envelope is marked “Return to Sender, Not

at this Address.”     Id.

      4.   Plaintiff has not communicated with the Court regarding

his new address, in violation of Local Civil Rule 10.1.            See L.

Civ. R. 10.1(a) (“Counsel and/or unrepresented parties must

advise the Court of any change in their or their client’s

address within seven days of being apprised of such change by

filing a notice of said change with the Clerk.”).
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      5.   The Clerk of the Court will be ordered to

administratively terminate this case.         Plaintiff may reopen this

matter by submitting his updated address.

      6.   An appropriate order follows.




Dated: September 28, 2021                   s/ Noel L. Hillman
At Camden, New Jersey                    NOEL L. HILLMAN, U.S.D.J.




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